AO 98 (Rev. 12/11) Case    1:16-mj-02978-UA
                   Appearance Bond                      Document 13             Filed 05/11/16            Page 1 of 8

                                    UNITED STATES DISTRICT COURT                                                     [JORIGINAL
                                                                    for the
                                                     Southern District of New York
                  United States of America                              )
                               v.                                       )
                                                                        )       Case No.        16 MAG 2978
                      DEVON ARCHER
                                                                        )
                           Defendant                                    )

                                                          APPEARANCE BOND
                                                                                                                MAY 11 2016
                                                          Defendant's Agreement
I,    DEVON ARCHER                                                     (defendant), agree to follow eve
court that considers th-is case, and I further agree that this bond may be forfeited ifl fail:
              ( X )                   to appear for court proceedings;
              ( X )                   if convicted, to surrender to serve a sentence that the court may impose; or
              ( X )                   to comply with all conditions set forth in the Order Setting Conditions of Release.

                                                                Type of Bond
( X ) ( 1) This is a personal recognizance bond.

(    ) (2) This is an unsecured bond of$

( X ) (3) This is a secured bond of$            1 MILLION PRB                         , secured by:

                (a) $                   ___ .. __ , in cash deposited with the court.

        (       (b) the agreement of the defendant and each surety to forfeit the following cash or other property
                (describe the cash or other property, including claims on it - such as a lien, mortgage, or loan - and attach proof of
                ownership and value):
                SECURED BY 1 MILLION CASH OR PROPERTY (EITHER)
                   ·---·------··-



                If this bond is secured by real property, documents to protect the secured interest may be filed of record.

             ) (c) a bail bond with a solvent surety (attach a copy ofthe bail bond, or describe it and identify the surety):


                               · - - - - - - - - - - - - - - - - - - - - · - - - - - - - - - - - ·-------·                      --------   -

                             ... - - - - - - - - - - - -                                              ----·--         -----   --------""




                                                    Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited ifthe defendant does not comply with the above agreement. The
court may immediately order the amount of the bond surrendered to the United States, including the security for the bond, ifthe
defendant does not comply with the agreement. At the request of the United States, the court may order a judgment of forfeiture
against the defendant and each surety for the entire amount of the bond, including interest and costs.

Release ofthe Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the security will
be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to serve a sentence.
                   Case 1:16-mj-02978-UA                 Document 13            Filed 05/11/16                  Page 2 of 8
                                                                                                                                             Page 2

AO 98 (Rev. 12/11) Appearance Bond



                                                                 Declarations

Ownership of the Property. I, the defendant - and each surety- declare under penalty of perjury that:

           (l)      all owners of the property securing this appearance bond are included on the bond;
           (2)      the property is not subject to claims, except as described above; and
           (3)       I will not sell the property, allow further claims to be made against it, or do anything to reduce its value
           while this appearance bond is in effect.

Acceptance. I, the defendant- and each surety- have read this appearance bond and have either read all the conditions of release set
by the court or had them explained to me. I agree to this Appearance Bond.




I, the defendant - and each surety- declare under penalty of perjury that this information is true. (See 28 U.S.C. § 1746.)




Date:      - - - -
                   5/11/2016
                           ----
                                                                        .~ f}_    .1L:::~-··'°'"
                                                                            (eefen~ture:                         DEVON-AR--C-HER___ .


--------   - - -                                                                 - - -          - - - - --------------              -·------··--

                 Surety/property owner- printed name                                  Surety/property owner - signature and date



        ---------      ----------------·- - - - - -
                 Surety/property owner -printed name                                  Surety/property owner - signature and date


                                                                                                                    ----------------
                 Surety/property owner - printed name                                   Surety/property owner - signature and da




                                                                        CLERK OF COURT



Date:              5/11/2016
                       - - - - -
                                                                              ~IV
                                                                                .
                                                                                 /{::____----·
                                                                                       ---··
                                                                                                     .
                                                                                                            -                  --·--------

                                                                                               Signatu   of Clerk or Deputy Clerk

Approved.

Date:    5/11116
                   Case 1:16-mj-02978-UA                   Document 13            Filed 05/11/16              Page 3 of 8
                                                                                                                                           Page 3

AO 199A (Rev. 12/11) Order Setting Conditions of Release                                                               Page I of _ _ _ Pages



                                         UNITED STATES DISTRICT COURT
                                                                      for the
                                                           Southern District of New York


                       United States of America                          )
                                  v.                                     )
                                                                         )             Case No.           16 MAG2978
------                    DEVON ARCHER                                   )
                             Defendant                                   )

                                           ORDER SETTING CONDITIONS OF RELEASE
IT IS ORDERED that the defendant's release is subject to these conditions:

(1)    The defendant must not violate federal, state, or local law while on release.

(2)    The defendant must cooperate in the collection ofa DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3)    The defendant must advise the court or the pretrial services office or supervising officer in writing before making any change of
       residence or telephone number.

(4)    The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that the court may
       impose.

       The defendant must appear at:
                                                                                                  Place



       on    · · - - - - -- - - - - - - - - - - - - -               ·----------.
                                                                        Date and Time

       If blank, defendant will be notified ofnext appearance.

(5)    The defendant must sign an Appearance Bond, if ordered.
                              Case 1:16-mj-02978-UA                       Document 13               Filed 05/11/16              Page 4 of 8
                                                                                                                                                                             Page 4


AO 199B (Rev. 12/11) Additional Conditions of Release                                                                                           Page _     of _      Pages

                                                              ADDITIONAL CONDITIONS OF RELEASE

         IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

     )       (6)
              The defendant is placed in the custody of:
              Person or organization          - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -·----··-
              Address (only if above is an organi=ation)                                                                                         ___________ _
              City and state                                                                                       Tel. No.                           _______
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant's appearance at all court proceedings, and (c) notify the court immediately if
the defendant violates a condition of release or is no longer in the custodian's custody.

                                                                                  Signed: _ _ _
                                                                                                                Custodian                                         Date
( X)       (7) The defendant must:
         ( X ) (a) submit to supervision by and report for supervision to the       REGULAR PRETRIAL SUPERVISION
                     telephone number                            , no later than _____________________
         (    ) (b) continue or actively seek employment.
         (    ) (c) continue or start an education program.
         (x)    (d) surrender any passport to:        _PSA (&NO NEW APPLICATIONS)                              --------· ·---· --------
         ( X ) (e) not obtain a passport or other international travel document.
         (x)     (f) abide by the following restrictions on personal association, residence, or travel: 48 STATES _________ ____ _
                                                                                                                       - - - · - - - - -------·---------
         (         ) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                          including:    _____                                              . ·------··                                                ----·----·--
                                                                                                                      · - - - - - - - - · - - - - ---------------
                   ) (h) get medical or psychiatric treatment:                                                       · - - - ----------· -----                           - --·--
                                                                                          ----··-         ----·-            -----·-~           --- ----              ------
                   ) (i) return to custody each                     at ____ o'clock after being released at           _______ o'clock for employment, schooling,
                         or the following purposes:      -----------                                                                     - - - - · · - - - - ..   ------     ------


                                                                                                                    ·-------------------·----- -
                   ) U) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                          necessary.
                   ) (k) not possess a firearm, destructive device, or other weapon.
                   ) (I) not use alcohol (           ) at all (     ) excessively.
                   ) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical
                          medical practitioner.
                   ) (n) submit to testing for a prohibited substance ifrequired by the pretrial services office or supervising officer. Testing may be used with random
                          frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited substance
                          screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy of prohibited substance
                          screening or testing.
                      (o) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or supervising
                          officer.
                   ) (p) participate in one of the following location restriction programs and comply with its requirements as directed.
                          (     ) (i) Curfew. You are restricted to your residence every day (              ) from                     to                 , or (      ) as
                                        directed by the pretrial services office or supervising officer; or
                                ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services; medical,
                                        substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other activities approved
                                        in advance by the pretrial services office or supervising officer; or
                                ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and court
                                        appearances or other activities specifically approved by the court.
                   ) (q) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
                          requirements and instructions provided.
                          (     ) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
                                  supervising officer.
                   ) (r) report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
                         arrests, questioning, or traffic stops.
                  $1 MILLION PRB; SECURED BY 1 MILLION CASH OR PROPERTY (EITHER); TRAVEL LIMITED TO 48
                  STATES; SURRENDER TRAVEL DOCUMENTS (&NO NEW APPLICATIONS) PASSPORT BY NOON 5/12/16;;
                  REGULAR PRETRIAL SUPERVISION; NO CONTACT WITH CO-DEFENDANTS EXCEPT BEVAN COONEY;
         ( X) (s) DEFT_1'_Q_~~-J~~_!.EASED ON OWN SIGNATURE; REMAINING CONDITIONS TO BE MET BY 5/25/16
Case 1:16-mj-02978-UA   Document 13   Filed 05/11/16   Page 5 of 8
                                                                     Page 5


                ADDITIONAL CONDITIONS OF RELEASE
                   Case 1:16-mj-02978-UA                  Document 13              Filed 05/11/16                Page 6 of 8
                                                                                                                                                      Page 6


AO 199C (Rev. 09/08) Advice of Penalties                                                                          Page _ _ _ of ________ Pages

                                                   ADVICE OF PENALTIES AND SANCTIONS

TOTHEDEFENDANT:     ~OIJ /1-ttcHGL                                                                      I{? f!/!IG Z9 76
YOU ARE ADVISED OF T~OWING PENALTIES AND SANCTIONS:                                                        · s)1}h
         Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
         While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term ofnot more than one year. This sentence will be consecutive
(i.e., in addition to) to any other sentence you receive.
         It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt to
intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly
more serious if they involve a killing or attempted killing.
         If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
         ( 1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more - you will be fined
               not more than $250,000 or imprisoned for not more than 10 years, or both;
         (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years -you will be fined not
               more than $250,000 or imprisoned for not more than five years, or both;
         (3) any other felony- you will be fined not more than $250,000 or imprisoned not more than two years, or both;
         (4) a misdemeanor- you will be fined not more than $100,000 or imprisoned not more than one year, or both.
         A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                       Acknowledgment of the Defendant

I acknowledge that I am the defendant in this case and that I am aware of the conditions ofrelease. I promise to obey all conditions ofrelease,
to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.

DEFENDANT RELEASED




                                                                                                City and State



                                                     Directions to the United States Marshal

(    ) The defendant is ORDERED released after processing.
(    ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant has posted
       bond and/or complied with all other conditions for release. Ifstill in custody, the defendant must be produced before the appropriate judge
       at the time and place specified.


Date:   - - -                                                                                                        - - - - - - · - - - - - - - - - - - - ---
                                                                                          Judicial Officer's Signature



                                                                                            Printed name and title




                       DISTRIBUTION:       COURT     DEFENDANT      PRETRIAL SERVICE       U.S. ATTORNEY          U.S. MARSHAL
Case 1:16-mj-02978-UA   Document 13   Filed 05/11/16       Page 7 of 8
                                                                                     Page 7



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                    Case 1:16-mj-02978-UA                   Document 13         Filed 05/11/16        Page 8 of 8

              No    ( (,    rY\ 'd, tj ')      8            DEFENDANT: _ _    V"'---"'---·__,V"--"-CJV'
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                                                                   f
                                                            DEF.'S COUNSEL
                                                                     ETAINED             0 FEDERAL DEFENDERS                 0 CJA

   O _ _ _ _ _ _ _ _ _ _ _ INTERPRETER NEEDED                               0 DEFENDANT WAIVES PRE-TRIAL REPORT


 ~le5              0 Rule 9       0 Rule 5(c)(3) 0 Detention Hrg.             DATE OF ARREST       5;/!;; / (,o 0 VOL. SURR.
                                                                              TIME OF ARREST   fP F-t              /    0 9_,N '?JT
   0 Other: _ _ _ _ _ _ _ _ _ _ _ __                                          TIME OF PRESENTMENT                 ©3 ~
                                                                BAIL DISPOSITION

  0 DETENTION ON CONSENT W/O PREJUDICE   0 DETENTION: RISK OF FLIGHT/DANGER                                            0 SEE ORDER
  0 DETENTION: HEARING SCHEDULED FOR_ _ _ _ _ _ __
 ~AGREED CONDITIONS OF RELEASE
  ~ DEFENDAN1' ~ELEASED ON OWN RECOGNIZANCE
  ib$     ( M       PRB

  ~SECUREDBY$     Fr M_      CASH/PROP_.P,Ri;Y:_E
                                              __                            l~Tffi3--~---------------
 ~TRAVEL RESTRICTED TO SDNY/EDNY/   L.f- l5"   s~                                                                                   , ,
  ®.5uRRENDER TRAVEL DOCUMENTS (&NO NEW APPLICATIONS) plt:SS Po(l.T ~        .A.)a?N ~~),,/ft,              "f
  b(REGULAR PRETRIAL SUPERVISION    0 STRICT PRETRIAL SUPERVISION
   0 DRUG TESTING/TREATMENT 0 MENTAL HEALTH EVALUATION/TREATMENT
   0 HOME INCARCERATION        0 HOMp DETEt"fflO~"     0 C RF W   0 ELECTRON! M9~1TORING )
  DQ OTHER CONDITIONS     o    ~ ~ l,J(            c_o-                           ~NJ
 f'                   (2t>OiJB"f


  _o ))EF. TO BE DETAINED UNTIL ALL CONDITIONS ARE MET                                                           5-           I(
  M'DEF. TO BE RELEASED ON OWN SIGNATURE; REMAINING CONDITIONS TO BE MET BY    2-J'- ~
  0 DEF. TO BE RELEASED UPON SATISFACTION OF FOLLOWING CONDITIONS: - - - - - - - - - - - - -
  - - - - - - - - - - - - - - - - - - ; REMAINING CONDITIONS TO BE MET BY _ _ _ _ _ __

  COMMENTS/ADDITIONAL PROCEEDINGS:




  0 DEF. ARRAIGNED; PLEADS NOT GUILTY                        0 CONFERENCE BEFORE D.J. ON - - - - - -
  0 SPEEDY TRIAL TIME EXCLUDED UNDER 18 U.S.C. § 316l(h)(7) UNTIL _ _ _ _ _ _ __

  FOR RULE 5(c)(3) CASES:
  0 IDENTITY HEARING WAIVED                                             0 PRELIMINARY HEARING WAIVED
  0 DEFENDANT TO BE REMOVED                                             0 ON DEFENDANT'S CONSENT

  DATE FOR PRELIMINARY HEARING                 _0_-_f-{_ (J                     0 ON DEFENDANT'S CONSENT


  DATE:~5°"_-_(_\_~_f~l=-----                                          ~./~
                                                                  UNITED STATES MAGISTRATE JUDGE, S.D.N.Y.

  WHITE (ORIGINAL) - COURT FILE        PINK - U.S. ATTORNEY'S OFFICE     YELLOW - U.S. MARSHAL   GREEN - PRETRIAL SERVICES AGENCY
  REV. (201 l) IH-2
